805 F.2d 394Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Nathan Sylvester WALLER, Plaintiff-Appellant,v.John BAKER;  James Evans;  Mary Blount;  Mary Taylor;  DianeTrice, Defendants-Appellees.
    No. 86-6671.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 16, 1986.Decided Nov. 20, 1986.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  John D. Larkins, Jr., Senior District Judge.  (C/A No. 85-1254-CRT)
      Nathan Sylvester Waller, appellant pro se.
      Jane Ray Garvey, Wake County Sheriff's Department, for appellees.
      E.D.N.C.
      AFFIRMED.
      Before WILKINSON and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Waller v. Baker, C/A No. 85-1254-CRT (E.D.N.C., June 24, 1986).
    
    
      2
      AFFIRMED.
    
    